UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


GARFIELD ANTHONY WILLIAMS.,

                       Plaintiff,

           -against-
                                                      1:20-CV-05995
 CITY OF NEW YORK; POLICE OFFICER OSCAR
 HERNANDEZ, TAX ID NO. 967545; POLICE
 OFFICER JOSEPH OTTAVIANO, TAX ID. NO 936677;
 DETECTIVE RUBEN LEON, BADGE NO. 4232




         MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFF’S MOTION
             FOR SANCTIONS PURSUANT TO FED. R. CIV. P. 37




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                       STATEMENT OF FACTS AND PROCEDURAL HISTORY

           The relevant facts and procedural history are respectfully set forth in Plaintiff’s

    counsel’s accompanying declaration submitted in support of this instant motion, as well

    as the papers submitted in Plaintiff’s pre-conference letters to the Court (ECF No. 86 and

    87).

                                             LEGAL STANDARDS

           Fed. R. Civ. P. 37(c)(1) is the primary method by which courts can sanction parties

    who fail to comply with Fed. R. Civ. P. 26(a) disclosures. The Court may, on motion and

    after an opportunity to be heard, impose appropriate sanctions if a party fails, without

    substantial justification to (1)Make pretrial disclosures under Rule 26(a)(3); and (2) Make

    supplemental disclosures as required by Rule 26(e)(2). 1 The purpose of Rule 37(c) is to

    prevent the practice of “sandbagging” an adversary with new evidence. Ebewo v.

    Martinez, 309 F.Supp.2d 600, 607 (S.D.N.Y.2004); Johnson Electric North America Inc. v.

    Mabuchi Motor America Corp., 77 F.Supp.2d 446, 458–59 (S.D.N.Y.1999).

           The Court, if finding that a party failed, without substantial justification, to provide

    documents as required by the aforementioned Rules, may impose sanctions including,

    but not limited to, (1)the payment of reasonable attorney fee’s caused by the failure; (2)

    precluding the use as evidence at trial, at a hearing, or an a motion of any witness or

    information not disclosed in accordance with Rule 26(a); and (3) informing the jury the

    jury of the parties failure to disclose, unless the failure is harmless.

           Courts may not impose sanctions pursuant to Rule 37 (c)(1) where a party’s failure



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 The list of sanctions is not meant to be exhaustive but to only demonstrate that the remedies that are available are
within the power of the Court.
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    to comply was “substantially justified” or harmless. “Harmless[ness]” means an absence

    of prejudice to the defendant. See Williams v. County of Orange, No. 03 CIV 5182(LMS),

    2005 WL 6001507, at *3 (S.D.N.Y. Dec. 13, 2005). “Substantial justification” may be

    demonstrated where “there is ‘justification to a degree that could satisfy a reasonable

    person that parties could differ as to whether the party was required to comply with the

    disclosure request,’ or ‘if there exists a genuine dispute concerning compliance.’ ” AIG

    Global Asset Management Holdings v. Branch et al., No. 04Civ.8803 (RMB)(THK), 2005

    WL 25494, at *l (S.D.N.Y. Feb. 18, 2005) (quoting Jockey Int'l, Inc. v. M/V “Leverkusen

    Express”, 217 F.Supp.2d 447, 452 (S.D.N.Y.2002)). The party that fails to comply with

    Rule 26(a) or (e) bears the burden of proving both that its non-compliance was

    substantially justified. See American Stock Exchange, LLC v. Mopex, Inc., 215 F.R.D. 87,

    93 (S.D.N.Y.2002), and that it was harmless. 2

           In determining whether preclusion or another sanction would be appropriate, courts

should consider: “(1) the party's explanation for the failure to comply with the discovery

[requirement]; (2) the importance of ... the precluded [evidence]; (3) the prejudice suffered

by the opposing party as a result of having to prepare to meet the new testimony; and (4)

the possibility of a continuance.” Softel, Inc. v. Dragon Medical & Scientific

Communications, Inc., 118 F.3d 955, 961 (2d Cir.1997).

           Requiring a party, that has not complied with its discovery obligations to pay the

reasonable fees and costs incurred by the moving party is one of “the mildest’ of the

sanctions authorized by Rule 37. See, generally, Cine Forty–Second Street Theatre Corp. v.

Allied Artists Pictures Corp., 602 F.2d 1062, 1066 (2d Cir.1979).


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    For Harmless see, Design Strategies, Inc. v. Davis, 367 F.Supp.2d 630, 635(S.D.N.Y.2005), aff'd, 469 F.3d 284.
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                                          ARGUMENT

    I.      Defendant’s failure to provide the Radio Run cannot be justified and it is not
            harmless.

    On February 15, 2022, the last day of fact discovery, Defendants provided the SPRINT

report (“Report” or “Radio Run”) that was created on December 15, 2019. This Report, a

standard document that is created in every arrest, was initially Ordered to be disclosed as a

requirement of the City’s participation in the Mediation Program under Local Rule 83.10.

Though Defendants’ were aware that this Report existed, and even used the contents of this

Report as a basis to argue that Defendant’s had probable cause for the arrest, they inexplicably

failed to produce the Report until after depositions were completed. Consequently, Plaintiff

requests that the Report be precluded at trial and Defendant provide fees to Plaintiff for

having to bring this instant motion.

         There is no reasonable argument that would justify Defendant’s failure to properly

disclose the Report. Defendants were aware of the Report’s existence, Defendants were

ordered to produce the Report, and it is a standard Report that is created during every arrest.

In addition, it is disturbing that the Report was disclosed the same day after the Court denied a

motion to extend fact discovery – solely so Defendants could utilize the Report in their motion

for summary judgment and to advance their case at trial.

         Defendants have repeatedly argued that the information on the Report, specifically a

statement from an unknown person that “the driver in the Nissan was intoxicated,” was a

part of the basis for Defendant’ to have probable cause. (See, ECF No. 27 and ECF No. 87].

With their late disclosure, they have denied the opportunity for Plaintiff to question any of the

individual Defendants’ concerning the contents of the Report- as it relates to probable cause,


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the timeline of the events of the Report, whether the Officers knew contemporaneously about

the Report, and even simply an explanation of the contents of the Report.

         The ability to have an explanation of the contents of the Report is a prejudice that

cannot be overstated. The Report is written mostly in code, and few portions are easily

decipherable. Generally, these sections are problematic as it is not clear who is

communicating, whom they are communicating with, and how the event is labeled. These

questions would, of course, have been asked of each individual officer.

         Moreover, central to any probable cause analysis is the information the Officer knew at

the time of the arrest. Because Plaintiff has been deprived of the opportunity to ask each

Officer whether they were aware of the contents of the Report, it is currently unknown how

each Defendants would answer that question at trial.

   II.      Defendant’s Failure To Provide The Medical Treatment Form Cannot Be Justified
            And Is Not Harmless

   Defendant’s have completely failed to provide the Medical Treatment Report (“MTR”) of

Plaintiff, as specifically requested in Plaintiff’s First Set Of Document Requests and

Interrogatories submitted June 08, 2021 and again requested verbally post deposition on

February 11, 2022 and in writing February 13, 2022. The first time Plaintiff became aware of

this document’s existence was on February 11, 2022 after the Deposition of Officer Hernandez.

Consequently, Plaintiff is requesting the Court inform the jury of the Defendant’s failure to

disclose the MTR, and fees to Plaintiff for bringing the instant motion.

   Defendants knew or should have known, that this document existed. They were explicitly

requested by Plaintiff and Defendant knew that Plaintiff received medical treatment and was

taken to the hospital. Upon information and belief, these documents are created whenever an

inmate receives medical treatment.
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      Further, the failure to provide the document is not harmless. Defendant has argued that

Plaintiff was “medically cleared” by the Doctor while Plaintiff argued he received sub-

standard treatment due to the arrest. This document would provide illumination on that

discrepancy. Moreover, Defendants are arguing that Plaintiff’s physical condition was due to

intoxication and not as a result of the injuries he suffered in a car accident. This document

would show documentation that Defendant’s knew of Plaintiff’s physical injuries due to the

accident and should have factored it in their probable cause analysis.

      Plaintiff proposes the following language be given to the Jury:

         Under our Rules, Officer Hernandez has an obligation to disclose all the documents
         he prepared, including the Medical Treatment Form, to the Plaintiff Mr. Williams.
         Officer Hernandez failed to follow the rules and disclose the documents. Therefore,
         you are allowed to infer, but not required to, that the document was not disclosed
         because it contains information that contradicts Officer Hernandez’s testimony.
                                            CONCLUSION

Plaintiff respectfully requests the Court grant the relief requested in the Notice of Motion and

for any other relief the Court deems just and proper.

    Dated: New York, New York
           April 06, 2022

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